          Case 4:22-mj-00011-KPJ Document 21 Filed 01/31/22 Page 1 of 1 PageID #: 247
AO 94 (Rev. 01/09) Commitment to Another District



                                    UNITED STATES DISTRICT COURT
                                                                for the
                                                       Eastern District of Texas

                United States of America                          )
                           v.                                     )
                                                                  )       Case No.   4:22mj011 KPJ
                                                                  )
                Elmer Stewart Rhodes, III                         )          Charging District’s
                           Defendant                              )          Case No. 22CR015 APM

                                            COMMITMENT TO ANOTHER DISTRICT

         The defendant has been ordered to appear in the                              District of Columbia                 .
The defendant may need an interpreter for this language:                                                       .

         The defendant:             will retain an attorney.
                                    is requesting court-appointed counsel.

         The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the
United States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may
be promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:    Jan 31, 2022
                                                                                        Judge’s signature

                                                                      Kimberly C. Priest Johnson, U. S. Magistrate Judge
                                                                                      Printed name and title
